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              EXHIBIT A
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                                  Plaintiffs' Post-Trial List of Admitted Exhibits and Demonstratives
TrialExhibit# Ex. Date             DocID                                   EndDoc                       Limitations (if any)
  PXR0001            2019.08.14            GOOG-DOJ-05439612                    GOOG-DOJ-05439616
  PXR0002           2020.02.26*             MSFT-0000971029                      MSFT-0000971047
                                                                                                        Subject to standing
 PXR0003           2015.11.07*             GOOG-DOJ-20119985                      GOOG-DOJ-20119988     objection to embedded
                                                                                                        hearsay.
 PXR0004            2015.06                MSFT-LIT-0000061519                    MSFT-LIT-0000061537
 PXR0005           2014.11.05                MOZ-LIT-002310                         MOZ-LIT-002348
 PXR0006           2020.06.07             DuckDuckGo-00545993                    DuckDuckGo-00545994
                                                                                                        Subject to standing
 PXR0007           2017.06.05*             GOOG-DOJ-30653849                      GOOG-DOJ-30653929     objection to embedded
                                                                                                        hearsay.
                                                                                                        Subject to standing
 PXR0008             2014.03              MSFT-LIT2_0008345066                   MSFT-LIT2_0008345093   objection to embedded
                                                                                                        hearsay.
 PXR0009           2024.11.11               GOOG2-00001856                          GOOG2-00001858
                                                                                                        Subject to standing
 PXR0010           2024.11.05*           APLGOOGDOJ-01166900                    APLGOOGDOJ-01166942     objection to embedded
                                                                                                        hearsay.
 PXR0011           2023.06.01              GOOG-DOJ-33743600                      GOOG-DOJ-33743616
 PXR0012           2024.05.08               MSLIT_0000000776                       MSLIT_0000000780
 PXR0013           2024.06.03              GOOG-DOJ-33768339                      GOOG-DOJ-33768340
 PXR0014           2023.10.06              GOOG-DOJ-33771598                      GOOG-DOJ-33771603
 PXR0015           2023.06.21              GOOG-DOJ-33778036                      GOOG-DOJ-33778038
                                                                                                        Subject to standing
 PXR0016           2024.06.05              GOOG-DOJ-33797865                      GOOG-DOJ-33797871     objection to embedded
                                                                                                        hearsay.
 PXR0017           2023.08.14              GOOG-DOJ-33798060                      GOOG-DOJ-33798062
 PXR0018           2023.04.10*             GOOG-DOJ-33800258                      GOOG-DOJ-33800265
 PXR0019             2023.12               GOOG-DOJ-33803813                      GOOG-DOJ-33803822
 PXR0020           2024.09.13                MOZ-LIT-045488                         MOZ-LIT-045491
 PXR0021             2023.11                 MOZ-LIT-046299                         MOZ-LIT-046308
                                                                                                        Subject to standing
 PXR0022           2017.04.12              GOOG-DOJ-33810431                      GOOG-DOJ-33810441     objection to embedded
                                                                                                        hearsay.
                                                                                                        Subject to standing
 PXR0023           2024.09.20               MSLIT_0000000847                       MSLIT_0000000862     objection to embedded
                                                                                                        hearsay.
 PXR0024            2024.09                 MSLIT_0000000863                       MSLIT_0000000864
 PXR0025           2024.07.30              GOOG-DOJ-33814478                      GOOG-DOJ-33814482
 PXR0026           2024.04.12              GOOG-DOJ-33825264                      GOOG-DOJ-33825316
                                                                                                        Subject to standing
 PXR0027           2024.05.21*             GOOG-DOJ-33828731                      GOOG-DOJ-33828770     objection to embedded
                                                                                                        hearsay.
 PXR0028           2023.02.07              GOOG-DOJ-33829157                      GOOG-DOJ-33829159
 PXR0029           2024.02.13*             GOOG-DOJ-33831152                      GOOG-DOJ-33831166
 PXR0030           2024.02.14              GOOG-DOJ-33837347                      GOOG-DOJ-33837348
 PXR0031           2024.09.25              GOOG-DOJ-33844344                      GOOG-DOJ-33844346
 PXR0032           2023.10.12*             GOOG-DOJ-33861208                      GOOG-DOJ-33861218
 PXR0033           2024.10.19              GOOG-DOJ-33947244                      GOOG-DOJ-33947250
 PXR0034             2023.09               GOOG-DOJ-33950504                      GOOG-DOJ-33950572
 PXR0035           2024.04.18*             GOOG-DOJ-33953405                      GOOG-DOJ-33953418
 PXR0036           2024.08.15              GOOG-DOJ-33957655                      GOOG-DOJ-33957674
 PXR0037             2024.07               GOOG-DOJ-33962227                      GOOG-DOJ-33962253
 PXR0038           2024.11.05*             GOOG-DOJ-33964302                      GOOG-DOJ-33964308
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                                                                          Subject to standing
PXR0039       2024.04.03     GOOG-DOJ-34025096        GOOG-DOJ-34025130   objection to embedded
                                                                          hearsay.
PXR0040       2024.08.06*    GOOG-DOJ-34206171        GOOG-DOJ-34206213
PXR0041       2024.06.26     GOOG-DOJ-34244265        GOOG-DOJ-34244331
PXR0042       2024.09.11     GOOG-DOJ-34248865        GOOG-DOJ-34248929
PXR0043         2023.09        MOZ-LIT-046941           MOZ-LIT-046982
                                                                          Subject to standing
PXR0044        2024.08       GOOG-DOJ-34295355        GOOG-DOJ-34295476   objection to embedded
                                                                          hearsay.
                                                                          Subject to standing
PXR0045        2024.10       GOOG-DOJ-34295477        GOOG-DOJ-34295491   objection to embedded
                                                                          hearsay.
                                                                          Subject to standing
PXR0046       2024.09.11     GOOG-DOJ-34317703        GOOG-DOJ-34317898   objection to embedded
                                                                          hearsay.
PXR0047       2024.01.18     GOOG-DOJ-34344404     GOOG-DOJ-34344432
PXR0048        2023.05       GOOG-DOJ-34359177     GOOG-DOJ-34359280
PXR0049       2024.06.04     GOOG-DOJ-34484046     GOOG-DOJ-34484051
PXR0050       2023.09.02     GOOG-DOJ-34493679    GOOG-DOJ-34493679.005
PXR0052        2024.01        YAH-LIT-0110608        YAH-LIT-0110620
PXR0053        2024.08        YAH-LIT-0110640        YAH-LIT-0110657
PXR0056       2024.12.17      YAH-LIT-0110675        YAH-LIT-0110677
PXR0057       2024.09.25      YAH-LIT-0110678        YAH-LIT-0110680
PXR0058        2024.10        YAH-LIT-0110844        YAH-LIT-0110881
PXR0059       2022.07.05     GOOG-DOJ-34812534     GOOG-DOJ-34812536
PXR0061       2023.07.21     GOOG-DOJ-34917943     GOOG-DOJ-34917943
                                                                          Subject to standing
PXR0062       2024.06.14     GOOG-DOJ-34917960        GOOG-DOJ-34917960   objection to embedded
                                                                          hearsay.
PXR0063       2024.10.24*     MOZ-LIT-0047955          MOZ-LIT-0047963
PXR0064         2024.02       MOZ-LIT-0048060          MOZ-LIT-0048084
                                                                          Subject to standing
PXR0065       2025.01.16*   APLGOOGDOJ-01167088   APLGOOGDOJ-01167102     objection to embedded
                                                                          hearsay.
                                                                          Subject to standing
PXR0066       2025.01.16*   APLGOOGDOJ-01167103   APLGOOGDOJ-01167114     objection to embedded
                                                                          hearsay.
                                                                          Subject to standing
PXR0067       2024.04.24     GOOG-DOJ-34790595        GOOG-DOJ-34790597   objection to embedded
                                                                          hearsay.
                                                                          Subject to standing
PXR0068       2024.08.30*    GOOG-DOJ-34432292    GOOG-DOJ-34432292.007   objection to embedded
                                                                          hearsay.
PXR0070       2024.09.04      MSLIT_0000032230         MSLIT_0000032232
PXR0071       2024.02.12       GLSUB00012027            GLSUB00012028
PXR0072       UNKNOWN          GLSUB00012430            GLSUB00012443
                                                                          Subject to standing
PXR0073       2024.07.18     MOTO-DDC-00172454        MOTO-DDC-00172456   objection to embedded
                                                                          hearsay.
PXR0074       2024.03.07      GLSUB00015625            GLSUB00015631
PXR0075       2024.03.07*     GLSUB00015632            GLSUB00015633
PXR0076       2024.07.19      GLSUB00020241            GLSUB00020242
PXR0077       2024.11.13      OPERA_00007128           OPERA_00007129
PXR0078         2022.10       YAH-LIT-0111915          YAH-LIT-0111927
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                                                                           Subject to standing
PXR0079       2022.10.31      YAH-LIT-0111946          YAH-LIT-0111948     objection to embedded
                                                                           hearsay.
PXR0080       2023.04.28      YAH-LIT-0113262          YAH-LIT-0113262
                                                                           Subject to standing
PXR0081        2023.04        YAH-LIT-0113263          YAH-LIT-0113283     objection to embedded
                                                                           hearsay.
                                                                           Subject to standing
PXR0082       2024.08.13      YAH-LIT-0119009          YAH-LIT-0119009     objection to embedded
                                                                           hearsay.
                                                                           Subject to standing
PXR0083       2024.10.24      YAH-LIT-0120102          YAH-LIT-0120106     objection to embedded
                                                                           hearsay.
PXR0085       2023.11.23     GOOG-DOJ-34924465    GOOG-DOJ-34924465.011
PXR0086       2024.07.22     GOOG-DOJ-34924466    GOOG-DOJ-34924466.017
PXR0087       2024.09.08       OPERA_00008560        OPERA_00008560
PXR0088       2024.03.20    APLGOOGDOJ-01169029   APLGOOGDOJ-01169031
PXR0089       2024.09.03*     MSLIT_0000165552      MSLIT_0000165568
PXR0090       2025.02.05      MSLIT_0000165569      MSLIT_0000165595
PXR0091       2024.05.05*     MSLIT_0000178253      MSLIT_0000178274
PXR0092       2024.05.23      MSLIT_0000179463      MSLIT_0000179464
PXR0094       2024.11.06     GOOG-DOJ-34931013     GOOG-DOJ-34931026
PXR0095       2024.08.26     GOOG-DOJ-33963905    GOOG-DOJ-33963905.010
PXR0096       2023.02.17     GOOG-DOJ-33746327     GOOG-DOJ-33746334
PXR0097       2024.03.11     GOOG-DOJ-33748814     GOOG-DOJ-33748816
PXR0098       2022.10.31     GOOG-DOJ-33763196     GOOG-DOJ-33763198
PXR0099       2023.04.22     GOOG-DOJ-33771217     GOOG-DOJ-33771219
PXR0100       2024.03.22     GOOG-DOJ-33772287     GOOG-DOJ-33772289
PXR0101       2024.06.28     GOOG-DOJ-33773737     GOOG-DOJ-33773764
PXR0102       2024.10.28*    GOOG-DOJ-33819693     GOOG-DOJ-33819752
PXR0103       2024.01.04     GOOG-DOJ-33824237     GOOG-DOJ-33824239
PXR0104       2024.11.05     GOOG-DOJ-33825356     GOOG-DOJ-33825356
PXR0105       2024.05.18     GOOG-DOJ-33831304     GOOG-DOJ-33831308
PXR0106       2023.06.11     GOOG-DOJ-33834481     GOOG-DOJ-33834482
PXR0107       2024.02.16     GOOG-DOJ-33837360     GOOG-DOJ-33837380
PXR0108       2024.11.17     SEA-DOJ-REM0000757    SEA-DOJ-REM0000759
PXR0109       2024.07.16*    GOOG-DOJ-33954812     GOOG-DOJ-33954856
PXR0110         2024.07      GOOG-DOJ-33968677     GOOG-DOJ-33969499
PXR0111       2024.02.20     GOOG-DOJ-33985772     GOOG-DOJ-33985774
PXR0112       2024.10.25*    GOOG-DOJ-34026136     GOOG-DOJ-34026137
PXR0113         2023.05      GOOG-DOJ-34233844     GOOG-DOJ-34233909
PXR0114       2024.05.16*    GOOG-DOJ-34243143     GOOG-DOJ-34243144
                                                                           Subject to standing
PXR0115       2024.03.27     GOOG-DOJ-34317265        GOOG-DOJ-34317286    objection to embedded
                                                                           hearsay.
PXR0116         2024.05      GOOG-DOJ-34331044        GOOG-DOJ-34331074
PXR0117       2023.01.31     GOOG-DOJ-34369526        GOOG-DOJ-34369741
PXR0118       2023.12.06     GOOG-DOJ-34380689        GOOG-DOJ-34380691
PXR0119       2023.11.16*    GOOG-DOJ-34444273        GOOG-DOJ-34444274
PXR0120       2023.12.30      Perplexity_001410        Perplexity_001411
PXR0121       2024.03.19      Perplexity_012945        Perplexity_012950
PXR0122       2024.05.01*      GLSUB00016493            GLSUB00016496
PXR0123       2024.08.27     GOOG-DOJ-34936179        GOOG-DOJ-34936243
PXR0124       2023.05.19*    GOOG-DOJ-33979992        GOOG-DOJ-33980016
                                                                           Subject to standing
PXR0125       2024.03.25     GOOG-DOJ-33768448        GOOG-DOJ-33768451    objection to embedded
                                                                           hearsay.
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PXR0126       2023.10.02      VZGGL-REM- 0000127        VZGGL-REM- 0000155
PXR0127       2023.04.07      VZGGL-REM- 0000398        VZGGL-REM- 0000400
PXR0128       2024.08.30      VZGGL-REM- 0000593        VZGGL-REM- 0000594
                                                                                Subject to standing
PXR0129       2023.08.11      VZGGL-REM- 0000638        VZGGL-REM- 0000640      objection to embedded
                                                                                hearsay.
PXR0130       2024.10.10    ATTGOOG_REMEDY-010388     ATTGOOG_REMEDY-010389
PXR0131       2024.06.11    ATTGOOG_REMEDY-002845     ATTGOOG_REMEDY-002858
PXR0132       2024.07.08      GOOG-DOJ-34818313         GOOG-DOJ-34818316
                                                                                Subject to standing
PXR0133       2023.05.06      VZGGL-REM- 0002246        VZGGL-REM- 0002246      objection to embedded
                                                                                hearsay.
                                                                                Subject to standing
PXR0134       2024.06.07    Google_Lit-TMO_00143036   Google_Lit-TMO_00143037   objection to embedded
                                                                                hearsay.
                                                                                Subject to standing
PXR0135       2024.08.05      MOTO-DDC-00165892         MOTO-DDC-00165893       objection to embedded
                                                                                hearsay.
                                                                                Subject to standing
PXR0136       2025.01.08      MOTO-DDC-00165894         MOTO-DDC-00165895       objection to embedded
                                                                                hearsay.
PXR0137       2024.06.20      MOTO-DDC-00170169         MOTO-DDC-00170172
                                                                                Subject to standing
PXR0138       2024.06.26      MOTO-DDC-00172589         MOTO-DDC-00172590       objection to embedded
                                                                                hearsay.
PXR0139       2024.04.07      MOTO-DDC-00173175         MOTO-DDC-00173178
                                                                                Subject to standing
PXR0140       2024.08.11      MOTO-DDC-00177927         MOTO-DDC-00177927       objection to embedded
                                                                                hearsay.
PXR0141       2024.08.11        MOZ-LIT-0051080           MOZ-LIT-0051080
PXR0142       2024.05.15        MOZ-LIT-0051400           MOZ-LIT-0051401
PXR0143       2024.06.12      GOOG-DOJ-33796806         GOOG-DOJ-33796807
PXR0144       2024.06.15      GOOG-DOJ-33867578         GOOG-DOJ-33867581
PXR0145       2024.09.26    ATTGOOG_REMEDY-006081     ATTGOOG_REMEDY-006084
                                                                                Subject to standing
PXR0146       2019.08.19      GOOG-DOJ-33893790         GOOG-DOJ-33893803       objection to embedded
                                                                                hearsay.
PXR0147       2024.07.17*     GOOG-DOJ-33941334         GOOG-DOJ-33941335
PXR0148       2024.08.05*     GOOG-DOJ-33962219         GOOG-DOJ-33962226
                                                                                Subject to standing
PXR0149        2024.04        GOOG-DOJ-33988501         GOOG-DOJ-33988533       objection to embedded
                                                                                hearsay.
PXR0150         2024.06       GOOG-DOJ-34351403         GOOG-DOJ-34351462
PXR0151       2024.08.30      GOOG-DOJ-34432291         GOOG-DOJ-34432291
PXR0152       2024.08.30*     GOOG-DOJ-34432296         GOOG-DOJ-34432300
PXR0153         2024.10       GOOG-DOJ-34846476         GOOG-DOJ-34846497
                                                                                Subject to standing
PXR0154       2024.07.22      GOOG-DOJ-33745101         GOOG-DOJ-33745104       objection to embedded
                                                                                hearsay.
                                                                                Subject to standing
PXR0155       UNKNOWN         GOOG-DOJ-34432293         GOOG-DOJ-34432295       objection to embedded
                                                                                hearsay.
                                                                                Subject to standing
PXR0156       2024.08.02*      MSLIT_0000011422          MSLIT_0000011425       objection to embedded
                                                                                hearsay.
PXR0157       2024.10.09      GOOG-DOJ-33945548         GOOG-DOJ-33945589
PXR0158       2024.07.18      GOOG-DOJ-33773909         GOOG-DOJ-33773924
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PXR0159       2024.07.18     GOOG-DOJ-34491370       GOOG-DOJ-34491383
PXR0160       2024.08.30     GOOG-DOJ-33938573       GOOG-DOJ-33938573
PXR0161       2024.06.26     GOOG-DOJ-33997134       GOOG-DOJ-33997200
PXR0162        2024.08       GOOG-DOJ-33799851       GOOG-DOJ-33799937
PXR0163       2024.07.16     GOOG-DOJ-33839471       GOOG-DOJ-33839473
PXR0164       2024.06.22     GOOG-DOJ-33796875       GOOG-DOJ-33796878
PXR0165       2024.09.29     GOOG-DOJ-33823302       GOOG-DOJ-33823305
PXR0166       2020.02.12     GOOG-DOJ-33878523       GOOG-DOJ-33878530
PXR0167       2022.07.20     GOOG-DOJ-34428569       GOOG-DOJ-34428576
                                                                         Subject to standing
PXR0168       2024.02.09     GOOG-DOJ-34447032       GOOG-DOJ-34447047   objection to embedded
                                                                         hearsay.
                                                                         Subject to standing
PXR0169        2024.04       GOOG-DOJ-34447791       GOOG-DOJ-34447856   objection to embedded
                                                                         hearsay.
PXR0170       2024.08.13*     MSLIT_0000078832        MSLIT_0000078851
PXR0171        UNKNOWN       GOOG-DOJ-34926062       GOOG-DOJ-34926142
PXR0172         2024.10      GOOG-DOJ-34926143       GOOG-DOJ-34926145
PXR0173       2024.10.23     GOOG-DOJ-34930447       GOOG-DOJ-34930452
PXR0174       2025.02.11     GOOG-DOJ-34930453       GOOG-DOJ-34930459
                                                                         Subject to standing
PXR0175       2023.09.02     GOOG-DOJ-34935503       GOOG-DOJ-34935505   objection to embedded
                                                                         hearsay.
PXR0176         2024.06        GLSUB00000120        GLSUB00000128
PXR0177       2023.01.17     GOOG-DOJ-33777239    GOOG-DOJ-33777245
PXR0178         2024.04      GOOG-DOJ-34268155    GOOG-DOJ-34268185
PXR0179         2024.04      GOOG-DOJ-34450247    GOOG-DOJ-34450317
PXR0180       2024.05.01*      GLSUB00016472        GLSUB00016492
PXR0181       2024.08.15       GLSUB00020315        GLSUB00020315
PXR0182         2025.01        GLSUB00020753        GLSUB00020792
PXR0183       2024.10.18     GOOG-DOJ-33925805   GOOG-DOJ-33925805.016
PXR0184       2023.10.05     GOOG-DOJ-34937112    GOOG-DOJ-34937115
PXR0185         2021.11      GOOG-DOJ-34937116    GOOG-DOJ-34937127
PXR0186         2024.10      GOOG-DOJ-33845605    GOOG-DOJ-33845704
PXR0187       2020.11.25     GOOG-DOJ-33748900    GOOG-DOJ-33748936
PXR0188       2023.08.12*    GOOG-DOJ-33788154    GOOG-DOJ-33788167
PXR0189       2022.02.10*    GOOG-DOJ-33811474    GOOG-DOJ-33811475
                                                                         Subject to standing
PXR0190       2021.07.30     GOOG-DOJ-33893708       GOOG-DOJ-33893722   objection to embedded
                                                                         hearsay.
PXR0191        2023.05       GOOG-DOJ-34230253       GOOG-DOJ-34230256
PXR0192        2021.05       GOOG-DOJ-34294166       GOOG-DOJ-34294209
                                                                         Subject to standing
PXR0193       2023.09.03     GOOG-DOJ-34428675       GOOG-DOJ-34428678   objection to embedded
                                                                         hearsay.
PXR0194         2024.06      GOOG-DOJ-33942987       GOOG-DOJ-33943047
PXR0195       2023.08.30*    GOOG-DOJ-34276267       GOOG-DOJ-34276321
PXR0196         2024.07      GOOG-DOJ-33773833       GOOG-DOJ-33773877
PXR0197       2024.09.20*    GOOG-DOJ-33873899       GOOG-DOJ-33873957
PXR0198       2024.06.26     GOOG-DOJ-33969777       GOOG-DOJ-33969843
PXR0199       2024.04.10*    GOOG-DOJ-34243121       GOOG-DOJ-34243124
PXR0200         2023.10      GOOG-DOJ-34276329       GOOG-DOJ-34276361
PXR0201         2024.04      GOOG-DOJ-34283218       GOOG-DOJ-34283255
                                                                         Subject to standing
PXR0202        2024.06       GOOG-DOJ-34285059       GOOG-DOJ-34285119   objection to embedded
                                                                         hearsay.
PXR0203       2024.06.27     GOOG-DOJ-33775074       GOOG-DOJ-33775075
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PXR0204       2024.06.24*    GOOG-DOJ-33799335       GOOG-DOJ-33799337
PXR0205       2024.01.24     GOOG-DOJ-33875322       GOOG-DOJ-33875361
PXR0206       2024.05.02     GOOG-DOJ-34243476       GOOG-DOJ-34243577
PXR0207       2023.12.12     GOOG-DOJ-34336819       GOOG-DOJ-34336819
PXR0208       2024.05.02     GOOG-DOJ-34415713       GOOG-DOJ-34415717
PXR0209       2024.06.05*    GOOG-DOJ-34419576       GOOG-DOJ-34419593
PXR0210       2024.08.14     GOOG-DOJ-34420530       GOOG-DOJ-34420530
PXR0211         2024.09      GOOG-DOJ-34811186       GOOG-DOJ-34811224
PXR0212       2021.11.10     GOOG-DOJ-34802592       GOOG-DOJ-34802705
PXR0213       2024.05.02     GOOG-DOJ-34806953       GOOG-DOJ-34807018
PXR0214         2024.01      GOOG-DOJ-34808447       GOOG-DOJ-34808453
PXR0215       2024.07.11*    GOOG-DOJ-34809242       GOOG-DOJ-34809261
PXR0216       2024.07.16     GOOG-DOJ-34896672       GOOG-DOJ-34896732
PXR0217       2024.11.06     GOOG-DOJ-34915154       GOOG-DOJ-34915168
PXR0218       2025.02.21*    GOOG-DOJ-34932542       GOOG-DOJ-34932551
PXR0219       2024.06.06     GOOG-DOJ-34417151       GOOG-DOJ-34417154
PXR0220       2024.09.19*    GOOG-DOJ-34423193       GOOG-DOJ-34423321
                                                                         Subject to standing
PXR0221       2024.09.04     GOOG-DOJ-34810959       GOOG-DOJ-34811006   objection to embedded
                                                                         hearsay.
PXR0222       2024.09.23     GOOG-DOJ-34809154    GOOG-DOJ-34809241
PXR0223       2024.02.22*    GOOG-DOJ-34805044    GOOG-DOJ-34805091
PXR0224       2022.09.15*    GOOG-DOJ-34912705    GOOG-DOJ-34912713
PXR0225       2024.10.30     GOOG-DOJ-33759549   GOOG-DOJ-33759549.006
PXR0226         2024.10      GOOG-DOJ-33845737    GOOG-DOJ-33845792
PXR0227       2024.06.27     GOOG-DOJ-34493982    GOOG-DOJ-34493986
                                                                         Subject to standing
PXR0228       2020.03.05       SKAI-00004117           SKAI-00004117     objection to embedded
                                                                         hearsay.
                                                                         Subject to standing
PXR0229       2019.03.04       SKAI-00004118           SKAI-00004118     objection to embedded
                                                                         hearsay.
PXR0230       2018.06.01     GOOG-DOJ-33847929       GOOG-DOJ-33847936
PXR0231       2024.10.03     GOOG-DOJ-33858050       GOOG-DOJ-33858057
PXR0232         2024.03      GOOG-DOJ-33879750       GOOG-DOJ-33879795
PXR0233       2023.07.13     GOOG-DOJ-34339910       GOOG-DOJ-34339921
PXR0234       2024.05.23     GOOG-DOJ-34343137       GOOG-DOJ-34343154
PXR0235         2024.01      GOOG-DOJ-34347280       GOOG-DOJ-34347321
PXR0237       2023.12.20*    GOOG-DOJ-33772007       GOOG-DOJ-33772014
PXR0238       2024.10.25*    GOOG-DOJ-33812036       GOOG-DOJ-33812046
PXR0239         2024.04      GOOG-DOJ-33838334       GOOG-DOJ-33838392
                                                                         Subject to standing
PXR0240       2023.02.03*    GOOG-DOJ-33916023       GOOG-DOJ-33916091   objection to embedded
                                                                         hearsay.
                                                                         Subject to standing
PXR0241       2024.09.20     GOOG-DOJ-34926032       GOOG-DOJ-34926049   objection to embedded
                                                                         hearsay.
PXR0242       2023.11.29*    GOOG-DOJ-34030098       GOOG-DOJ-34030115
                                                                         Subject to standing
PXR0243        2018.06       GOOG-DOJ-27321909       GOOG-DOJ-27321931   objection to embedded
                                                                         hearsay.
                                                                         Subject to standing
PXR0244       2021.09.16     GOOG-DOJ-31770515       GOOG-DOJ-31770523   objection to embedded
                                                                         hearsay.
PXR0245       2023.11.03     GOOG-DOJ-34343629       GOOG-DOJ-34343660
PXR0246       2024.09.10     GOOG-DOJ-34345155       GOOG-DOJ-34345197
PXR0247       2023.08.29     GOOG-DOJ-34935924       GOOG-DOJ-34935925
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                                                                                Subject to standing
               2024.09.11   ATTGOOG_REMEDY-006111     ATTGOOG_REMEDY-006114
PXR0248                                                                         objection to embedded
              2024.08.26*   ATTGOOG_REMEDY-006115     ATTGOOG_REMEDY-006115
                                                                                hearsay.
              2022.06.07    Google_Lit-TMO_00140137   Google_Lit-TMO_00140138
PXR0249       2022.06.07    Google_Lit-TMO_00140139   Google_Lit-TMO_00140143
               2022.06      Google_Lit-TMO_00140144   Google_Lit-TMO_00140157
                                                                                Subject to standing
              2024.11.08    Google_Lit-TMO_00142084   Google_Lit-TMO_00142087
PXR0250                                                                         objection to embedded
              2024.11.08    Google_Lit-TMO_00142088   Google_Lit-TMO_00142100
                                                                                hearsay.
                                                                                Subject to standing
               2024.10.04   Google_Lit-TMO_00142718   Google_Lit-TMO_00142718
PXR0251                                                                         objection to embedded
              2024.10.04*   Google_Lit-TMO_00142719   Google_Lit-TMO_00142722
                                                                                hearsay.
              2024.09.13    Google_Lit-TMO_00142826   Google_Lit-TMO_00142827
PXR0252       2024.09.13    Google_Lit-TMO_00142828   Google_Lit-TMO_00142829
              2024.09.13    Google_Lit-TMO_00142830   Google_Lit-TMO_00142830
              2024.10.02      MOTO-DDC-00169285        MOTO-DDC-00169288
PXR0253
              2024.06.28      MOTO-DDC-00169289        MOTO-DDC-00169297
              2024.06.01       MOZ-LIT-0055597           MOZ-LIT-0055598
PXR0254       2024.06.05       MOZ-LIT-0055599           MOZ-LIT-0055663
               2024.05         MOZ-LIT-0055664           MOZ-LIT-0055688
                                                                                Subject to standing
               2024.03.05      MSLIT_0000000805          MSLIT_0000000807
PXR0255                                                                         objection to embedded
              2024.01.17*      MSLIT_0000000808          MSLIT_0000000813
                                                                                hearsay.
              2024.08.02      VZGGL-REM- 0000652        VZGGL-REM- 0000652
PXR0256
              2024.08.02      VZGGL-REM- 0000653        VZGGL-REM- 0000664
              2024.04.30     APLGOOGDOJ-01168945       APLGOOGDOJ-01168946
PXR0257
              2024.04.30     APLGOOGDOJ-01168947       APLGOOGDOJ-01168949
              2024.08.20    ATTGOOG_REMEDY-008111     ATTGOOG_REMEDY-008111
PXR0258       2024.08.20    ATTGOOG_REMEDY-008112     ATTGOOG_REMEDY-008113
              2024.08.20    ATTGOOG_REMEDY-008114     ATTGOOG_REMEDY-008114
                                                                                Subject to standing
              2024.05.07    Google_Lit-TMO_00140485   Google_Lit-TMO_00140486
PXR0259                                                                         objection to embedded
              2024.05.08    Google_Lit-TMO_00140487   Google_Lit-TMO_00140492
                                                                                hearsay.
              2024.01.19    Google_Lit-TMO_00142123   Google_Lit-TMO_00142123
              2021.06.30    Google_Lit-TMO_00142124   Google_Lit-TMO_00142156
PXR0260
              2021.06.30    Google_Lit-TMO_00142157   Google_Lit-TMO_00142174
              2023.09.21    Google_Lit-TMO_00142175   Google_Lit-TMO_00142277
               2023.03.29      MSLIT_0000076732          MSLIT_0000076742
PXR0261
              2023.03.08*      MSLIT_0000076743          MSLIT_0000076751
                                                                                Subject to standing
              2024.05.30    MOTO-DDC-00170264           MOTO-DDC-00170264
PXR0262                                                                         objection to embedded
               2024.05       MOTO-DDC-00170265          MOTO-DDC-00170273
                                                                                hearsay.
              2022.08.17    VZGGL-REM- 0000001          VZGGL-REM- 0000001
PXR0263
               2022.08.18     VZGGL-REM- 0000002        VZGGL-REM- 0000018
               2023.12.06   VZGGL-REM- 0000273          VZGGL-REM- 0000274
PXR0264
               2023.12.11     VZGGL-REM- 0000275        VZGGL-REM- 0000305
               2024.08.27   APLGOOGDOJ-01168524        APLGOOGDOJ-01168525
PXR0265
               2024.08.27    APLGOOGDOJ-01168526       APLGOOGDOJ-01168557
               2024.08.19   MSLIT_0000028699             MSLIT_0000028704
PXR0266
              2024.08.19*      MSLIT_0000028705          MSLIT_0000028722
               2024.06.11      MSLIT_0000031162          MSLIT_0000031164
               2024.03.20      MSLIT_0000031165          MSLIT_0000031168
               2024.03.11      MSLIT_0000031169          MSLIT_0000031175
PXR0267        2024.05.06      MSLIT_0000031176          MSLIT_0000031177
                2023.10        MSLIT_0000031178          MSLIT_0000031215
                2023.10        MSLIT_0000031216          MSLIT_0000031222
                2024.04        MSLIT_0000031223          MSLIT_0000031230
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                                                                                Subject to standing
              2023.09.26    Google_Lit-TMO_00141083   Google_Lit-TMO_00141083
PXR0268                                                                         objection to embedded
              2023.09.26    Google_Lit-TMO_00141084   Google_Lit-TMO_00141087
                                                                                hearsay.
              2024.03.07      GOOG-DOJ-33820489         GOOG-DOJ-33820493
PXR0269
              2024.03.06      GOOG-DOJ-33820494         GOOG-DOJ-33820495
              2024.03.07      GOOG-DOJ-33820496         GOOG-DOJ-33820496
PXR0270
              2024.03.06      GOOG-DOJ-33820497         GOOG-DOJ-33820498
              2024.06.28      GOOG-DOJ-33821312         GOOG-DOJ-33821312
PXR0271
              2024.06.28      GOOG-DOJ-33821313         GOOG-DOJ-33821313
               2024.07.19     GOOG-DOJ-34260246         GOOG-DOJ-34260247
PXR0272       2024.07.17*     GOOG-DOJ-34445371         GOOG-DOJ-34445372
               2024.07.19     GOOG-DOJ-34491445         GOOG-DOJ-34491496
               2024.04.10     GOOG-DOJ-34325141         GOOG-DOJ-34325141
PXR0273
              2024.04.10*     GOOG-DOJ-34325142         GOOG-DOJ-34325146
               2024.07.12     GOOG-DOJ-34325235         GOOG-DOJ-34325237
PXR0274
              2024.09.12*     GOOG-DOJ-34856350         GOOG-DOJ-34856381
                                                                                Subject to standing
              2024.09.07      GOOG-DOJ-33856304         GOOG-DOJ-33856307
PXR0275                                                                         objection to embedded
              2024.08.30      GOOG-DOJ-33856308         GOOG-DOJ-33856312
                                                                                hearsay.
               2024.08.14    GOOG-DOJ-33937979         GOOG-DOJ-33937980
PXR0276       2024.08.14*    GOOG-DOJ-33937981         GOOG-DOJ-33937984
              2024.08.14*    GOOG-DOJ-33937985         GOOG-DOJ-33937988
              2024.09.13     GOOG-DOJ-34422808         GOOG-DOJ-34422815
PXR0277
              2024.09.13     GOOG-DOJ-34422816         GOOG-DOJ-34422816
              2024.09.13     GOOG-DOJ-34288483         GOOG-DOJ-34288484
PXR0278
              2024.09.13     GOOG-DOJ-34492097         GOOG-DOJ-34492121
               2024.06.23    GOOG-DOJ-33806076         GOOG-DOJ-33806079
PXR0279
              2024.06.20*    GOOG-DOJ-33806054         GOOG-DOJ-33806066
              2024.06.17     GOOG-DOJ-33821242         GOOG-DOJ-33821243
PXR0280
                2024.06      GOOG-DOJ-34799935         GOOG-DOJ-34800006
              2024.10.31     GOOG-DOJ-33823772         GOOG-DOJ-33823772
PXR0281
              2024.11.08     GOOG-DOJ-34846666         GOOG-DOJ-34846708
               2023.05.09    GOOG-DOJ-33834285         GOOG-DOJ-33834288
PXR0282
              2023.12.13*    GOOG-DOJ-34858499         GOOG-DOJ-34858500
              2024.10.07     GOOG-DOJ-34337432         GOOG-DOJ-34337434
PXR0283
              2024.09.20     GOOG-DOJ-34889675         GOOG-DOJ-34889684
               2024.08.05    GOOG-DOJ-33785843         GOOG-DOJ-33785845
PXR0284
              2024.07.30*    GOOG-DOJ-33839850         GOOG-DOJ-33839859
              2024.04.23     GOOG-DOJ-34415119         GOOG-DOJ-34415129
PXR0285
              2024.04.23     GOOG-DOJ-33799345         GOOG-DOJ-33799384
PXR0301       2024.05.31     GOOG-DOJ-33810853         GOOG-DOJ-33810858
PXR0302       2025.01.27     GOOG-DOJ-34940297         GOOG-DOJ-34940338
PXR0303       2022.12.13*    GOOG-DOJ-34938160         GOOG-DOJ-34938189
PXR0304       2023.02.28     GOOG-DOJ-34939811         GOOG-DOJ-34939850
PXR0305       2024.11.07*    GOOG-DOJ-34944654         GOOG-DOJ-34944655
PXR0306       2024.07.17     GOOG-DOJ-34943345         GOOG-DOJ-34943551
PXR0307       2024.02.14     GOOG-DOJ-34944477         GOOG-DOJ-34944503
PXR0308       2025.04.16    USDOJ-GOOG-00195447       USDOJ-GOOG-00195449
PXR0309       2025.04.16    USDOJ-GOOG-00195450       USDOJ-GOOG-00195451
PXR0310       2025.04.17    USDOJ-GOOG-00195452       USDOJ-GOOG-00195456
PXR0311       2023.07.24    USDOJ-GOOG-00195457       USDOJ-GOOG-00195515
PXR0312       2023.08.21    USDOJ-GOOG-00195516       USDOJ-GOOG-00195521
PXR0314       2025.04.22    USDOJ-GOOG-00195527       USDOJ-GOOG-00195530
PXR0315       2025.02.24*    GOOG-DOJ-34931865         GOOG-DOJ-34931913
PXR0316       2020.10.12     GOOG-DOJ-32659569         GOOG-DOJ-32659575
PXR0317       2024.10.31*    GOOG-DOJ-34925393         GOOG-DOJ-34925444
PXR0318       2021.01.28*    GOOG-DOJ-19715076         GOOG-DOJ-19715101
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PXR0319       2025.02.27*     GOOG-DOJ-34932864       GOOG-DOJ-34932864
PXR0320       2017.08.08      GOOG-DOJ-27865118       GOOG-DOJ-27865128
PXR0321           N/A         GOOG-DOJ-34936172       GOOG-DOJ-34936173
PXR0323
                                                                            Admitted for truth only as
PXR0333        2025.01.22    USDOJ-GOOG-00195565     USDOJ-GOOG-00195570    to statements of Parisa
                                                                            Tabriz.
PXR0334        2025.02.04    USDOJ-GOOG-00195571     USDOJ-GOOG-00195678
PXR0345                        GOOG-DOJ-34492933       GOOG-DOJ-34493046
PXR0347        2023.06.16      GOOG-DOJ-33800382       GOOG-DOJ-33800383
PXR0348        2011.03.16    USDOJ-GOOG-00195700     USDOJ-GOOG-00195708
PXR0349        2011.10.13    USDOJ-GOOG-00195709     USDOJ-GOOG-00195715
PXR0350        2021.11.19      GOOG-DOJ-31590175       GOOG-DOJ-31590241
PXR0351        2024.11.06      GOOG-DOJ-34427262       GOOG-DOJ-34427316
PXR0356        2025.02.18    USDOJ-GOOG-00195742     USDOJ-GOOG-00195746
PXR0357        2025.01.31    USDOJ-GOOG-00195747     USDOJ-GOOG-00195750
PXR0363                         GOOG2-00001772          GOOG2-00001781
PXR0364       2023.12.07*      GOOG-DOJ-34847988       GOOG-DOJ-34847988
PXR0366       2024.09.19       GOOG-DOJ-33970120       GOOG-DOJ-33970137
PXR0370       2025.03.13        GOOG2-00005075          GOOG2-00005075
PXR0385       2025.01.09     USDOJ-GOOG-00196019     USDOJ-GOOG-00196022
PXR0501       2024.05.04     APLGOOGDOJ-01166827     APLGOOGDOJ-01166878
PXR0502       2022.05.24      DuckDuckGo-00685277     DuckDuckGo-00685319
PXR0503       2024.02.01      DuckDuckGo-00685320     DuckDuckGo-00685322
PXR0504       2024.05.30      DuckDuckGo-00685323     DuckDuckGo-00685324
PXR0505       2024.08.31     APLGOOGDOJ-01166886     APLGOOGDOJ-01166893
PXR0506       2024.08.16        GOOG2-00000039          GOOG2-00000043
PXR0507       2023.03.14        GOOG2-00000026          GOOG2-00000030
PXR0508       2021.06.02    ATTGOOG_REMEDY-021334   ATTGOOG_REMEDY-021361
PXR0509       2022.07.12        GOOG2-00000001          GOOG2-00000002
PXR0510       2022.12.16        GOOG2-00000003          GOOG2-00000005
PXR0511       2023.05.05        GOOG2-00000006          GOOG2-00000007
PXR0512       2024.05.30        GOOG2-00000008          GOOG2-00000022
PXR0513       2024.05.31        GOOG2-00000023          GOOG2-00000024
PXR0514       2024.12.12       GOOG-DOJ-33811114       GOOG-DOJ-33811118
PXR0515       2024.12.13       GOOG-DOJ-33811119       GOOG-DOJ-33811125
PXR0516       2015.10.26       GOOG-DOJ-13125214       GOOG-DOJ-13125280
PXR0517       2023.02.07        GOOG2-00000177          GOOG2-00000178
PXR0518       2023.03.29        GOOG2-00000283          GOOG2-00000284
PXR0519       2023.03.30        GOOG2-00000179          GOOG2-00000180
PXR0520       2023.05.31        GOOG2-00000160          GOOG2-00000161
PXR0521       2023.06.27        GOOG2-00000128          GOOG2-00000136
PXR0522       2023.08.28        GOOG2-00000162          GOOG2-00000173
PXR0523       2024.01.08        GOOG2-00000174          GOOG2-00000176
PXR0524       2024.01.19        GOOG2-00000181          GOOG2-00000181
PXR0525       2024.01.24        GOOG2-00000049          GOOG2-00000049
PXR0526       2024.01.25        GOOG2-00000157          GOOG2-00000157
PXR0527       2024.01.31        GOOG2-00000271          GOOG2-00000272
PXR0528       2024.02.01        GOOG2-00000282          GOOG2-00000282
PXR0529       2024.04.22        GOOG2-00000217          GOOG2-00000228
PXR0530       2024.04.22        GOOG2-00000054          GOOG2-00000090
PXR0531       2024.04.22        GOOG2-00000229          GOOG2-00000243
PXR0532       2024.04.22        GOOG2-00000244          GOOG2-00000256
PXR0533       2024.04.22        GOOG2-00000182          GOOG2-00000216
PXR0534       2024.05.03        GOOG2-00000292          GOOG2-00000294
PXR0535       2024.06.25        GOOG2-00001063          GOOG2-00001086
PXR0536       2024.06.26        GOOG2-00000137          GOOG2-00000145
PXR0537       2024.06.28        GOOG2-00000273          GOOG2-00000281
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PXR0538        2024.10.04      GOOG2-00001050          GOOG2-00001062
PXR0539        2024.12.04    GOOG-DOJ-34926003       GOOG-DOJ-34926009
PXR0540        2025.02.05    GOOG-DOJ-34925192       GOOG-DOJ-34925194
PXR0541        2025.02.07    GOOG-DOJ-34925195       GOOG-DOJ-34925201
PXR0542        2025.02.11    GOOG-DOJ-34925673       GOOG-DOJ-34925678
PXR0543        2025.02.10    GOOG-DOJ-34925653       GOOG-DOJ-34925672
PXR0544        2023.01.31       MOZ-LIT-045756          MOZ-LIT-045767
PXR0545        2024.06.23       MOZ-LIT-045515          MOZ-LIT-045523
PXR0546        2024.07.12      OPERA_00006297          OPERA_00006328
PXR0547        2024.08.15      OPERA_00006417          OPERA_00006420
PXR0548        2024.10.14      OPERA_00006421          OPERA_00006423
PXR0549        2024.11.26      OPERA_00006424          OPERA_00006425
PXR0550        2019.02.27    GOOG-DOJ-10972526       GOOG-DOJ-10972561
PXR0551        2019.02.27    GOOG-DOJ-10972509       GOOG-DOJ-10972519
PXR0552        2022.05.13      GOOG2-00000399          GOOG2-00000401
PXR0553        2022.05.13      GOOG2-00000331          GOOG2-00000333
PXR0554        2022.12.29      GOOG2-00000334          GOOG2-00000339
PXR0555        2022.12.30      GOOG2-00000359          GOOG2-00000360
PXR0556        2022.12.30      GOOG2-00000406          GOOG2-00000416
PXR0557        2022.12.30      GOOG2-00000363          GOOG2-00000369
PXR0558        2023.01.11      GOOG2-00000417          GOOG2-00000419
PXR0559        2023.12.21      GOOG2-00000420          GOOG2-00000443
PXR0560        2024.01.05      GOOG2-00000316          GOOG2-00000320
PXR0561        2024.01.05      GOOG2-00000386          GOOG2-00000392
PXR0562        2024.01.05      GOOG2-00000444          GOOG2-00000445
PXR0563        2024.01.08      GOOG2-00000380          GOOG2-00000381
PXR0564        2024.01.08      GOOG2-00000382          GOOG2-00000383
PXR0565        2024.02.19      GOOG2-00000327          GOOG2-00000330
PXR0566        2024.02.20      GOOG2-00000446          GOOG2-00000449
PXR0567        2024.06.26      GOOG2-00000340          GOOG2-00000341
PXR0568        2024.06.26      GOOG2-00000453          GOOG2-00000454
PXR0569        2024.06.26      GOOG2-00000455          GOOG2-00000457
PXR0570        2024.11.16    GOOG-DOJ-33743393       GOOG-DOJ-33743395
PXR0571        2024.11.16    GOOG-DOJ-33743363       GOOG-DOJ-33743392
PXR0572        2024.11.16    GOOG-DOJ-33743232       GOOG-DOJ-33743283
PXR0573        2024.11.16    SEA-DOJ-REM0001074      SEA-DOJ-REM0001129
PXR0574        2024.11.16    GOOG-DOJ-33743340       GOOG-DOJ-33743362
PXR0575        2024.12.30      GOOG2-00005020          GOOG2-00005021
PXR0576        2024.12.30      GOOG2-00005033          GOOG2-00005034
PXR0577        2024.12.30      GOOG2-00005030          GOOG2-00005032
PXR0578        2024.12.30      GOOG2-00005022          GOOG2-00005023
PXR0579        2024.12.30    GOOG-DOJ-34811958       GOOG-DOJ-34811959
PXR0580        2025.02.26      GOOG2-00005028          GOOG2-00005029
PXR0581        2022.09.30      GOOG2-00000617          GOOG2-00000617
PXR0582        2022.12.09      GOOG2-00000618          GOOG2-00000618
PXR0583        2023.01.30      GOOG2-00000615          GOOG2-00000615
PXR0584        2023.04.25      GOOG2-00000616          GOOG2-00000616
PXR0585        2023.05.30      GOOG2-00000619          GOOG2-00000619
PXR0586        2023.06.27      GOOG2-00000653          GOOG2-00000654
PXR0587        2023.07.28      GOOG2-00000665          GOOG2-00000667
PXR0588        2023.09.14      GOOG2-00000663          GOOG2-00000664
PXR0589        2023.09.14      GOOG2-00000655          GOOG2-00000656
PXR0590        2023.11.16    GOOG-DOJ-34925179       GOOG-DOJ-34925180
PXR0591        2023.11.29      GOOG2-00000657          GOOG2-00000662
PXR0592        2024.06.24      GOOG2-00000695          GOOG2-00000696
PXR0593        2024.06.27    VZGGL-REM-0002346       VZGGL-REM-0002366
PXR0594        2024.06.27      GOOG2-00000689          GOOG2-00000694
PXR0595        2024.10.29    GOOG-DOJ-34925181       GOOG-DOJ-34925185
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PXR0596        2025.01.08       GOOG-DOJ-34937263           GOOG-DOJ-34937292
PXR0597        2025.01.17       VZGGL-REM-0002320           VZGGL-REM-0002329
PXR0598        2010.07.27        GOOG2-00001716              GOOG2-00001771
PXR0599        2014.10.21        GOOG2-00001702              GOOG2-00001712
PXR0600        2023.10.13        GOOG2-00001782              GOOG2-00001785
PXR0601        2019.11.03        MSLIT_0000000705            MSLIT_0000000709
PXR0602        2023.06.12        MSLIT_0000000781            MSLIT_0000000783
PXR0603        2023.06.15        MSLIT_0000000710            MSLIT_0000000712
PXR0604        2023.10.16        MSLIT_0000000793            MSLIT_0000000797
PXR0605        2024.03.07        MSLIT_0000000773            MSLIT_0000000775
PXR0606        2025.04.16        GOOG2-00005035              GOOG2-00005036
PXR0607        2025.04.16        GOOG2-00005037              GOOG2-00005038
PXR0608        2025.04.19        GOOG2-00005039              GOOG2-00005039
PXR0609        2025.04.17        GOOG2-00005073              GOOG2-00005074
PXR0610        2024.03.08     Google_Lit-TMO_00140894     Google_Lit-TMO_00140895
PXR0611        2011.05.31        GOOG2-00001793              GOOG2-00001795
PXR0612        2012.12.21        GOOG2-00001786              GOOG2-00001788
PXR0613        2022.10.27        GOOG2-00001713              GOOG2-00001715
PXR0614        2024.05.08        GOOG2-00001789               GOOG2-0000178
PXR0701        2024.11.11      USDOJ-GOOG-00194972         USDOJ-GOOG-00194983
PXR0702        2024.11.18      USDOJ-GOOG-00194984         USDOJ-GOOG-00195005
PXR0703        2024.11.18      USDOJ-GOOG-00195006         USDOJ-GOOG-00195013
PXR0704        2025.03.17      USDOJ-GOOG-00195014         USDOJ-GOOG-00195035
PXR0705        2025.03.21      USDOJ-GOOG-00195036         USDOJ-GOOG-00195041
PXR0706        2025.03.21      USDOJ-GOOG-00195042         USDOJ-GOOG-00195069
PXR0707        2025.03.23      USDOJ-GOOG-00195070         USDOJ-GOOG-00195075
PXR0708        2025.02.13      USDOJ-GOOG-00195076         USDOJ-GOOG-00195084
PXR0709        2025.02.20      USDOJ-GOOG-00195085         USDOJ-GOOG-00195097
PXR0710        2025.03.10      USDOJ-GOOG-00195098         USDOJ-GOOG-00195110
PXR0711        2025.03.11      USDOJ-GOOG-00195111         USDOJ-GOOG-00195121
PXR0712        2025.03.19      USDOJ-GOOG-00195122         USDOJ-GOOG-00195132
PXR0713        2025.03.19      USDOJ-GOOG-00195133         USDOJ-GOOG-00195137
PXR0714        2025.03.20      USDOJ-GOOG-00195138         USDOJ-GOOG-00195143
PXR0715        2025.03.24      USDOJ-GOOG-00195144         USDOJ-GOOG-00195165
PXR0716        2023.09.20    USDOJ-MOZDEPMUH-000001      USDOJ-MOZDEPMUH-000068
PXR0717        2024.02.09      USDOJ-GOOG-00195166         USDOJ-GOOG-00195285
PXR0718        2025.02.12      USDOJ-GOOG-00195286         USDOJ-GOOG-00195445
PXR0719        2022 – 2024     USDOJ-GOOG-00195446         USDOJ-GOOG-00195446
PXR0720        2024.09.12    SEA-DOJ-REM0075887_K.001   SEA-DOJ-REM0075887_K_0005
                                                                                    Subject to standing
PXR0721        2024.02.16    USDOJ-GDEPECOL-000005       USDOJ-GDEPECOL-000010      objection to embedded
                                                                                    hearsay.
PXR0801
PXR0802
PXR0803
PXR0805
PXR0806
PXR0807
PXRD001        2025.04.21                                                           Offered as demonstrative

PXRD002        2025.04.21                                                           Offered as demonstrative

PXRD003        2025.04.21                                                           Offered as demonstrative

PXRD004        2025.04.22                                                           Offered as demonstrative

PXRD005        2025.04.23                                                           Offered as demonstrative
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PXRD006        2025.04.23                                             Offered as demonstrative

PXRD007        2025.04.24                                             Offered as demonstrative

PXRD008        2025.04.24                                             Offered as demonstrative

PXRD009        2025.04.24                                             Offered as demonstrative

PXRD010        2025.04.25                                             Offered as demonstrative

PXRD011        2025.04.28                                             Offered as demonstrative

PXRD012        2025.04.29                                             Offered as demonstrative

PXRD013        2025.04.28                                             Offered as demonstrative

PXRD014        2025.04.25                                             Offered as demonstrative

PXRD015        2025.04.28                                             Offered as demonstrative

PXRD016        2025.05.01                                             Offered as demonstrative

PXRD017        2025.04.30                                             Offered as demonstrative

PXRD019        2025.05.02                                             Offered as demonstrative

PXRD021        2025.05.02                                             Offered as demonstrative

PXRD023        2025.05.06                                             Offered as demonstrative

PXRD025        2025.05.08                                             Offered as demonstrative

PXRD026        2025.05.08                                             Offered as demonstrative

PXRD028        2025.05.08                                             Offered as demonstrative

PXRD029        2025.05.09                                             Offered as demonstrative

PXRD030        2025.05.09                                             Offered as demonstrative
